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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
        Plaintiff,                                )
                                                  )
      v.                                          ) No. 4:08CR00410 ERW
                                                  )
MARK ROE,                                         )
REGINA PORTER,                                    )
                                                  )
        Defendants.                               )

                                 ORDER RELATING TO TRIAL

        This matter comes before the Court on Motion to Continue Trial Setting [doc. #150] by

Defendant Mark Roe and Motion to Consolidate Cases [doc. #151] as to Defendant Regina Porter.

Defendant Mark Roe has filed with this Court a signed Waiver of Speedy Trial and Defendant Regina

Porter will be required to do so.

        Both Defendants were originally charged in a twenty-one count indictment, along with eight

(8) co-defendants, involving conspiracy to possess pseudoephedrine, knowing and having reasonable

cause to believe it would be used to manufacture methamphetamine. Defendants were provided a

trial date of October 27, 2008, and each of the eight (8) co-defendants are set for Change of Plea

Hearings prior to that original setting.

        On September 17, 2008, the Federal Public Defender’s Office withdrew their representation

as to Defendant Mark Roe and current counsel, Peter Cohen, was appointed to represent Mark Roe

in all further proceedings. Counsel for said Defendant seeks additional time to review discovery in

this matter and confer with his client prior to the trial setting.

        On October 9, 2008, Defendant Regina Porter was charged in a separate indictment with one

(1) count of Conspiracy to Possess Pseudoephedrine and forty-five (45) counts of Possession of

Pseudoephedrine knowing it would be used to manufacture methamphetamine. Defendant Porter will
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be arraigned on the separate indictment before Magistrate Judge Terry I. Adelman on October 17,

2008.

        This Court, upon careful consideration and on review of the record, finds that the ends of

justice would be served by continuing the trial setting as to Defendant Mark Roe and Defendant

Regina Porter to December 8, 2008, and that a continuance of these proceedings outweighs the best

interest of the public and the Defendants in a speedy trial. Furthermore, failure to grant a continuance

would deny counsel for the government and defendants the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. The Court concludes that a

miscarriage of justice will result to the Defendants unless a continuance is granted.

        Accordingly,

        IT IS HEREBY ORDERED that within the guidelines set forth by the Speedy Trial Act, 18

U.S.C. 316, the Motion to Continuance Trial Setting by Defendant Mark Roe [doc. #150] is

GRANTED. The trial setting as to Defendant Mark Roe is reset to December 8, 2008, at 8:30 a.m.

        IT IS FURTHER ORDERED that the Motion to Consolidate Cases [doc. #151] as to

Defendant Regina Porter is GRANTED. The indictment in Cause No. 4:08CR00586 DJS (TIA)

shall be transferred and consolidated with Cause No. 4:08CR00410 ERW (TIA) for all further

proceedings. Upon arraignment, Defendant Regina Porter will be provided with the trial date of

December 8, 2008, at 8:30 a.m. along with remaining Defendant Mark Roe.




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       IT IS FURTHER ORDERED that Defendant Regina Porter shall immediately file with this

Court a signed Waiver of Speedy Trial agreeing to said continuance of the trial date and the

consolidation of the charges against her.

       So Ordered this 17th Day of October , 2008.



                                            _________________________________
                                            E. RICHARD WEBBER
                                            UNITED STATES DISTRICT JUDGE




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